Case 1:03-cr-10009-.]DT Document 110 Filed 05/26/05 Page 1 of 3 Page|D 94

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IN THE UNITED STATES DISTRICT COURT D‘i~aé¥l"DC

 

FoR THE wEsTERN DISTRICT oF TENNESSE%S
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UNITED sTATEs oF AMERICA, U_
vv. D, @F § dlfdlszr cr
Plaintiff,
vS_ No. 03-10009

MARK AKSELRUD, IRINA AKSELRUD

Defendants.

 

COURT ORDER

 

Pursuant to a stipulation filed by the defendants, Mark and
lrina Akselrud and no objection filed by the United States
Attorney’s Office, this Court hereby orders that the original
condition of release as monitored by U.S. Pretrial Services
Department be modified so that defendants, Mark and Irina Akselrud
be allowed to leave the Central District of Los Angeles and travel
to New York City, New York between the dates of June 3, 2005 and

June 13, 2005.

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Dated: fl;! :Zk §'M;Z§

ENTERED THIS 26th DAY OF M.AY, 2005, at the
direction of JAMES D. TODD, U`NITED STATES
DISTRICT JUDGE,- WESTERN DISTRICT

OF TENNE_SSEE. 7 ' HONORABLE JUDGE JAMES D. TODD

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with Rule 55 and/or 32(b) FRCrP on ' ’
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case 1:03-CR-10009 Was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

